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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK



UNITED STATES OF AMERICA,                          ORDER

              - against -                          Criminal Docket No.
                                                   CR-03-0833(NOG)
MYRON GUSHLAK,

                            Defendant.



       WHEREAS,pursuant to his conviction for conspiracy to commit securities fraud,

pursuant to 18 U.S.C. § 371, and conspiracy to commit money laundering, pursuant to 18

U.S.C. §§ 1956(h) and 1956(a)(3), this court imposed a Judgment against defendant Myron

Gushlak on November 18,2010, and sentenced him to pay an assessment of$200.00 and a

fine of$25,000,000.00, plus interest, among other things; and

       WHEREAS,this court amended the Judgment imposed against defendant by issuing a

Restitution Order, dated May 15, 2012, and sentenced defendant to pay restitution in the

amount $17,492,817.45, plus interest, among other things; and

       WHEREAS,as of June 20, 2017,the outstanding principal balance for the restitution

imposed against defendant is $15,053,084.99; and

       WHEREAS,on or about March 9, 2010,the defendant deposited $2 million with the

Clerk ofthe Court as a cash bond in connection with the above-captioned case, which

amount remains on deposit in the Court Registry Investment System("CRIS Account"); and

       WHEREAS,the United States filed a motion that the Court order that the $2 million

on deposit in the CRIS Account, together with any accrued interest, be applied to the

pajmient ofthe outstanding restitution judgment imposed against the defendant, pursuant to
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28 U.S.C. § 2044,(see Docket Entries 121, 121-1,121-2 and 121-3),

       IT IS HEREBY ORDERED that, pursuant to 28 U.S.C. § 2044, within ten days ofthe

issuance of this Order, the Clerk ofthe Court shall withdraw the $2,000,000.00 on deposit in

the CRIS Account,together with any interest that has accrued thereto, and apply the monies

to the outstanding restitution judgment imposed against defendant.



Dated: Brooklyn, NY

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                                            s/Nicholas G. Garaufis

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                                          UNITED STATES DISTRICT JUDGE
                                          EASTERN DISTRICT OF NEW YORK
